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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-189 GEB

12                                Plaintiff,

13                          v.                           STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
14   JEREMY RAY WARREN,                                  [PROPOSED] FINDINGS AND ORDER

15
                                 Defendant.
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18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     A trial confirmation hearing is currently scheduled for February 1, 2019.
21          2.     A jury trial in this matter is set to begin on March 12, 2019.
22          3.     By this stipulation, the defendant now moves to vacate the trial confirmation hearing and
23 trial date and set a status conference for March 29, 2019, and to exclude time between February 1, 2019

24 and March 29, 2019 under the Local Code T-4 (to allow defense counsel time to prepare). The parties

25 agree and stipulate, and request the Court find the following.

26                 a. Counsel for the defendant was appointed on May 25, 2018.
27                 b. The government has produced approximately 1,300 pages of discovery and 26 audio
28                     files.

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 1                  c. Counsel for the defendant needs additional time to review the discovery, conduct

 2                     investigation, interview potential witnesses, and meet with the defendant.

 3                  d. Counsel for the defendant believes the failure to grant a continuance in this case

 4                     would deny defense counsel reasonable time necessary for effective preparation,

 5                     taking into account the exercise of due diligence

 6                  e. The government does not object to the continuance.

 7          4.      Based on the above-stated findings, the ends of justice served by continuing the case as

 8 requested outweigh the interest of the public and the defendant in a trial within the original date

 9 prescribed by the Speedy Trial Act.

10          5.      For the purpose of computing time within which trial must commence under the Speedy

11 Trial Act, 18 U.S.C. § 3161, et seq., the time period between February 1, 2019 and March 29, 2019

12 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

13 results from a continuance granted by the Court at defendant’s request on the basis of the Court’s

14 finding that the ends of justice served by taking such action outweigh the best interest of the public and

15 the defendant in a speedy trial.

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 1          6.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

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 5 IT IS SO STIPULATED.

 6                                                           MCGREGOR W. SCOTT
                                                             United States Attorney
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 8   Dated: January 30, 2019                                 /s/ Michael M. Beckwith
 9                                                           MICHAEL M. BECKWITH
                                                             Assistant United States Attorney
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11
     Dated: January 30, 2019                                 /s/ Shari Rusk
12                                                           SHARI RUSK
13                                                           Attorney for defendant
                                                             Jeremy Warren
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 1                                         FINDINGS AND ORDER

 2          The Court, having read and considered the parties’ Stipulation, which this Court incorporates by

 3 reference to this Order in full, hereby finds and orders the following:

 4          1.     The trial confirmation hearing set for February 1, 2019 is vacated;

 5          2.     The jury trial set to begin on March 12, 2019 is vacated;

 6          3.     A status conference is scheduled for March 29, 2019; and

 7          4.     In consideration of the reasons set forth in the parties’ Stipulation, the Court finds that the

 8 ends of justice served by continuing the case as requested outweigh the interest of the public and the

 9 defendant in a trial within the original date prescribed by the Speedy Trial Act, and time between

10 February 1, 2019 and March 29, 2019, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

11 B(iv) [Local Code T4].

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13          IT IS SO FOUND AND ORDERED.

14          Dated: January 31, 2019

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